


  Rill, Judge,
 

  delivered the opinion of the Court:
 

  it appears that the only real question hqre decided, was as to the real property, under the issue of
  
   “ devis-avit vel turn”
  
  In the County Court, a verdict was found for the Plaintiff, although there was only one subscribing witness to the will. The Defendant very properly appealed, and a verdict was found in favor of him in the Superior Court. As oiir law requires at least two subscribing witnesses to a will of -land, and as it was supposed by those who had an agency in deciding this question in the County Court, that that requisite might be dispensed with, the Defendant was necessarily driven to his appeal 5 and of .course, the Plaintiff ought to pay the costs.
 
